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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS

STEVEN SWANSON,                                )
                                               )
                       Plaintiff,              )
                                               )
               v.                              )       No. 16-cv-10555
                                               )
JUAN CASTANETA and                             )
EMJ TRANSPORT COMPANY,                         )       Plaintiff Demands a Jury Trial
                                               )
                       Defendants.             )

                                       COMPLAINT

        NOW COMES the Plaintiff, Steven Swanson (“Swanson”), by and through his
attorneys, Levinson and Stefani, and complaining of the Defendants, Juan Castaneta
(“Castaneta”) and EMJ Transport Company (“EMJ”), states as follows:

                                 Venue and Jurisdiction

1.      The Plaintiff is a citizen of the State of Wisconsin.


2.      The Defendant, EMJ, is a corporation incorporated under the laws of the
        State of Illinois, County of Will, and has its principal place of business in the
        State of Illinois, and is therefore a citizen of the State of Illinois.


3.      The Defendant, Casteneta, is a citizen of the State of Illinois, County of Cook.


4.      Jurisdiction is proper under 28 U.S.C. § 1332, as complete diversity of
        citizenship exists between the parties, and the amount in controversy exceeds
        the sum or value of $75,000.00. Each of the parties hereto is a citizen of the
        United States, but is a citizen of separate states within the United States.


5.      This court has pendent jurisdiction over all state claims presented herein
        pursuant to 28 U.S.C. § 1367.
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6.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).


                            Facts Common to All Counts

7.       At all relevant times herein, Defendant EMJ was subject to the rules and
         regulations of the United States Department of Transportation and the
         Federal Motor Carrier Safety Administration, codified in Title 49 of the Code
         of Federal Regulations, parts 300-399 and related parts.


8.       At all relevant times herein, Defendant Castaneta was a professional truck
         driver employed by EMJ.


9.       At all relevant times, Defendant Castaneta was driving for and/or on behalf of
         Defendant EMJ.


10.      At all relevant times herein, Castaneta was subject to the rules and regulations
         of the United States Department of Transportation and the Federal Motor
         Carrier Safety Administration, codified in Title 49 of the Code of Federal
         Regulations, parts 300-399 and related parts.


11.      On or about January 6, 2015, Swanson was driving southbound on US
         Interstate 65, near mile marker 199.


12.      At the aforementioned time and place, EMJ was the owner of a 1993 Peterbilt
         Semi Truck, US DOT Number 2402875 (hereinafter “Semi Truck”), being
         driven by its agent and servant, Defendant Castaneta, southbound on US
         Interstate 65 near mile marker 199, and behind Swanson, in Jasper County,
         Indiana.


13.      The Plaintiff at all relevant times herein was exercising due care for his own
         safety.




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                                     COUNT I
                            Negligence against Castaneta


14.      The Plaintiff hereby adopts and re-alleges paragraphs 1-13 as though fully set
         forth herein.


15.      At said time and place, it was the duty of the Defendant, Castaneta, to
         operate, maintain, and control the Semi Truck in a manner so as not to
         negligently cause injury to persons lawfully on the public way, including the
         Plaintiff, Swanson.


16.      Notwithstanding the foregoing duty, the Defendant, Castaneta, did operate,
         maintain, and control the Semi Truck in a dangerous and negligent manner in
         one or more of the following ways:
         a)     operated the Semi Truck at a speed too great for conditions prevailing;

         b)     exceeded a safe speed for the present road conditions, which were icy
                and with blowing snow;

         c)     failed to keep a proper lookout;

         d)     followed the Plaintiff’s vehicle too closely;

         e)     failed to avoid a collision with the vehicle operated by Plaintiff;

         f)     failed to slow or stop the Semi Truck when danger to the Plaintiff was
                imminent;

         g)     struck the vehicle occupied by the Plaintiff;

         h)     failed to adhere to certain rules and regulations codified in 49 CFR
                300 et seq., including failing to reduce speed; and

         i)     failed to properly maintain the Semi Truck, including but not limited
                to adequate brakes.

17.      As a direct and proximate result of one or more of the foregoing acts of
         negligence, the Semi Truck operated by Defendant Castaneta did violently
         collide with the vehicle driven by the Plaintiff, Swanson, and as a result
         thereof, the Plaintiff did suffer the following past, present, and future loss and


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        damage:
        a)     bodily injury;

        b)     pain and suffering;

        c)     lost wages and injury to earning capacity;

        d)     medical expenses; and

        e)     disability or loss of normal life.

        WHEREFORE, the Plaintiff, Swanson, prays for judgment against the
Defendant, Castaneta, in an amount in excess of SEVENTY-FIVE THOUSAND
DOLLARS ($75,000.00) and costs.


                                 COUNT II
      Negligence against EMJ Transport Company (Respondeat Superior)


18.     The Plaintiff hereby adopts and re-alleges paragraphs 1-17 as though fully set
        forth herein.


19.     At said time and place, Defendant Castaneta was operating the Semi Truck
        under the authority and control of his employer or contractor, EMJ Trucking.


20.     At said time and place, Defendant Castaneta was operating the Semi Truck
        with the consent of EMJ.


21.     At said time and place, Defendant Castaneta was operating the Semi Truck in
        the course and scope of his employment with EMJ.


22.     At said time and place, it was the duty of Defendant EMJ, by and through its
        agent or employee, Defendant Castaneta, to own, operate, maintain, and
        control the Semi Truck in a manner so as not to negligently cause injury to
        persons lawfully on the public way, including the Plaintiff, Swanson.


23.     Notwithstanding the foregoing duty, the Defendant, EMJ, by and through its


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      agent or employee, Defendant Castaneta, did own, operate, maintain, and
      control the Semi Truck in a dangerous and negligent manner in one or more
      of the following ways:
      a)     operated the Semi Truck at a speed too great for conditions prevailing;

      b)     exceeded a safe speed for the present road conditions, which were icy
             and with blowing snow;

      c)     failed to keep a proper lookout;

      d)     followed the Plaintiff’s vehicle too closely;

      e)     failed to avoid a collision with the vehicle operated by Plaintiff;

      f)     failed to slow or stop his Semi Truck when danger to the Plaintiff was
             imminent;

      g)     struck the vehicle occupied by the Plaintiff;

      h)     failed to adhere to certain rules and regulations codified in 49 CFR
             300 et seq., including failing to reduce speed; and

      i)     failed to properly maintain the Semi Truck, including but not limited
             to adequate brakes.

24.   As direct and proximate result of one or more of the foregoing acts of
      negligence, the Semi Truck operated by Defendant Castaneta in the course of
      his employment with EMJ did violently collide with the vehicle driven by the
      Plaintiff, Swanson, and as a result thereof, the Plaintiff did suffer the
      following past, present, and future loss and damage:
      a)     bodily injury;

      b)     pain and suffering;

      c)     medical expenses; and

      d)     disability or loss of normal life.

      WHEREFORE, the Plaintiff, Swanson, prays for judgment against the
Defendant, EMJ, in an amount in excess of SEVENTY-FIVE THOUSAND DOLLARS
($75,000.00) and costs.




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                                COUNT III
            Direct Negligence against EMJ Transport Company


25.   The Plaintiff hereby adopts and re-alleges paragraphs 1-24 as though fully set
      forth herein.

26.   The Defendant, EMJ, had the duty to act reasonably in hiring, training, and
      retaining Defendant Castaneta to operate the Semi Truck.


27.   The Defendant, EMJ, had the duty to promulgate and enforce rules and
      regulations to ensure its drivers, including Castaneta, and vehicles, including
      the Semi Truck, were reasonably safe and in compliance with all applicable
      state and federal laws.


28.   Notwithstanding the foregoing duties, the Defendant, EMJ, did breach said
      duties in one or more of the following ways:
      a)     knew or should have known that Castaneta was unfit to operate the
             Semi Truck;

      b)     allowed Castaneta to operate the Semi Truck while in violation of
             applicable federal regulations at 49 CFR 300, et seq.;

      c)     did not take appropriate action in training Castaneta;

      d)     did not take appropriate action in disciplining or re-training Castaneta
             when it knew or should have known Castaneta failed to comply with
             various rules and regulations;

      e)     did not remove Castaneta from duties after it knew or should have
             known Castaneta was unfit for the job; and

      f)     did not provide supervision of Castaneta when necessary or reasonable
             to do so to ensure safety and compliance with applicable rules.

29.   As direct and proximate result of one or more of the foregoing acts of
      negligence, the Semi Truck owned by Defendant EMJ and driven by
      Defendant Castaneta did violently collide with the vehicle occupied by the
      Plaintiff, Swanson, and as a result thereof, the Plaintiff did suffer the
      following past, present, and future loss and damage:
      a)     bodily injury;

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       b)      pain and suffering;

       c)      lost wages and earning capacity;

       d)      medical expenses; and

       e)      disability or loss of normal life.

       WHEREFORE, the Plaintiff, Swanson, prays for judgment against the
Defendant, EMJ, in an amount in excess of SEVENTY-FIVE THOUSAND DOLLARS
($75,000.00) and costs.


                             DEMAND FOR JURY TRIAL

Plaintiff hereby requests a jury trial on all issues raised in this complaint.




                                              Respectfully submitted,

                                              By: /s/ Brett A. Manchel

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